     Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 1 of 15 PageID #: 1




                        UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                               SOUTHERN DIVISION



UNITED STATES OF AMERICA,                                Civ. No.   4:19-cv-4029

        Plaintiff,

V.                                                     COMPLAINT


WALLACE TANG,Individually, and
d/b/a BLUE SKY ENGINEERING,
INC.; CASSINDY SINE CHAO,
Individually, and d/b/a LASERLITH
CORP.; and GINA KIM, Individually,
and d/b/a BLACK HILLS
NANOSYSTEMS CORP.,

        Defendants.



        Plaintiff, United States of America, by and through its counsel, Ron^d A.

Parsons, Jr., United States Attorney, and Cheryl Schrempp DuPris, Assistant

United States Attorney, brings this action to recover damages and civil
                        I




penalties pursuant to the False Claims Act, 31 U.S.C. § 3729, et seq, or

alternatively under common law, and alleges the following:

                              Jurisdiction and Venue


1.      This Court has jurisdiction pursuant to 28 U.S.C. § 1345.

2.      Venue is proper pursuant to 31 U.S.C. § 3732(a), 28 U.S.C. §§ 1391, and

1395(a) because at all relevant times, Defendants transacted business and

committed acts in violation of 31 U.S.C. S 3729 within the District.
     Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 2 of 15 PageID #: 2



                                     Parties '

3.      The plaintiff is the United States of America on behalf of the United

States agencies National Science Foundation ("NSF"), National Aeronautics and

Space Administration ("NASA"), and the Department of Energy ("DOE").

4.      Wallace Tang lists a residence at 3057 Lunada Lane, Alamo, CA 94507.

5.      Wallace Tang registered Blue Sky Engineering, Inc. (Blue Sky), 417 Main

Ave, Suite 003, Fargo, ND 58103-1956, as a foreign corporation with the North

Dakota Secretary of State. Its Registered Agent was listed as Incorp Services,

Inc., 919 S. 7^ Street, Suite 607, Bismarck, ND 58504. In 2017, Blue Sky,

through Wallace Tang, surrendered its authority to transact business in the

state, revoked the authority of its registered agent to accept service, and listed

the address for service of process as P.O. Box 1092, Alamo, CA 94507.

6.      Cassindy Sine Chao lists a residence at 309 Mountain Ave, Piedmont, CA

94611.


7.      Cassindy Sine Chao registered Laserlith Inc., (Laserlith), 4200 James Ray

Drive, .Suite 501, Grand Forks, ND 58202, as a foreign corporation with the

North Dakota Secretary of State. Laserlith's Registered Agent was listed as

Registered Agents, Inc., 1267 Willis Street, Suite 200, Redding, CA 96001. In

2015, Laserlith, through Chao, surrendered its authority to transact business,

revoked the authority of its registered agent to accept service, and listed the

address to serve process as P.O. Box 13211, Oakland, CA 94611-2813.

8.      Gina Kim lists a residence at 80 2nd Street #11, Los Altos, CA 94022.
  Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 3 of 15 PageID #: 3



9.    Gina Kim registered Black Hills Nanosystems, Inc., (Black Hills Nano),

1941 Jackson St., #9, Oakland, CA, 94612, as a foreign corporation with the

South Dakota Secretary of State. In 2016, the Registered Agent was listed as

Incorp Services, Inc., 400 N. Main Ave, Suite 206, Sioux Falls, SD         57104-

5979. Gina Kim has since surrendered authority to transact business in the

state, revoked the authority of its registered agent to accept service on Black

Hills Nano's behalf, and lists the address to serve process as 209 Hazelwood

Ave, San Francisco, CA 94127.

                              GENERAL ALLEGATIONS


10.   Pursuant to the Small Business Act, 15 U.S.C. § 638, the United States

Small Business Administration (SBA) created the Small Business Innovation

Research (SBIR) Program and the Small Business Transfer Technology

Research (STTR) Program to stimulate scientific and technology innovation

through research funds in areas critical to build a strong national economy.

11.   The National Science Foundation (NSF), the National Aeronautics and

Space Administration (NASA), and the Department of Energy (DOE) participate

in the programs and each administers its individual programs within

established guidelines.

12.   All SBIR and STTR proposals were required to be electronically submitted

to the federal agency offering the grant or contract opportunity.

13.   NSF's, NASA's, and DOE's computer servers used to receive contract

proposals were located in Virginia, Mississippi, Maryland, and Virginia.
  Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 4 of 15 PageID #: 4



14.   SBIR and STTR grant and contract award payments were electronically

transferred from the associated federal agency, tihrough the United States

Department of the Treasury, and then wired to a business bank account

identified by the awardee.

15.   Each project was required to designate a "principal investigator" (PI). PI

is defined as the one individual to provide the scientific and technical direction

to a project supported by the funding agreement.              The applicant must

designate the PI in both the proposal and in the award.

16.   The programs had rules about who could serve as a PI, including that Pis

were required to be primarily employed (generally, more than 50 percent of the

Pi's employed hours) with the business receiving the award. This meant that

the PI could not be employed full-time or even 50 percent with another

company, organization, or entity.

17.   In each proposal, the applicant was required to describe the nature of the

Pi's activities, the amount of time the PI would personally apply to the project,

and the qualifications and capabilities of the proposed PI.

18.   Primary employment of the PI was generally certified in each proposal.

19.   Applicants for SBIR and STTR funding must also certify at various times

that "essentially equivalent" work, or a portion thereof, has not been funded by

another Federal agency. "Essentially equivalent" work is defined as work that is

substantially the same research, which is proposed for funding in more than

one contract proposal or grant application submitted to the same Federal
    Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 5 of 15 PageID #: 5




  agency or submitted to two or more different Federal agencies for review and

  funding consideration; or work where a specific research objective and the

V, research design for accomplishing the objective are the same or closely related

  to another proposal or award, regardless of the funding source.

  20.   Each SBIR and STTR project must include a list of senior or key

  personnel, who are individuals who have committed to work on the project and

  who possess specialized knowledge or skills that are critical for the completion

  of the project.

  21.   Each certified proposal submitted to the United States government was

  evaluated and scored on its own merits.          The evaluators rely upon the

  truthfulness of proposals submitted to them. NSF, NASA, and DOE used the

  following, or a substantively similar, certification: "By signing and submitting

  this proposal, the Authorized Organizational Representative or Individual

  Applicant is: (1) certifying that statements made herein are true and complete

  to the best of his/her knowledge; and (2) agreeing to accept the obligation to

  comply with NSF award terms and conditions if an award is made as a result of

  this application . . . . Willful provision of false information in this application

  and its supporting documents or in reports required under an ensuing award

  is a criminal offense (U. S. Code, Title 18, Section 1001)."

                             FRAUDULENT CONDUCT


  22.   Wallace     Tang     registered    MicroAssembly         Technologies,   Inc.,

  (MicroAssembly), 3411 Regatta Boulevard, Richmond, OA 94804 as a domestic
  Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 6 of 15 PageID #: 6



corporation with the California Secretary of State.          MicroAssembly was

subsequently awarded multiple SBIR or STTR awards. Wallace Tang, Cassindy

Sine Chao, and Gina Kim worked together at MicroAssembly which later

became the parent corporate entity of other entities, including Blue Sky

Engineering, Inc., and Black Hills Nanosystems, Inc.

23.   Wallace Tang, Cassindy Sine Chao, or Gina Kim each formed these

separate corporate entities in California, then registered them in other states in

order to submit multiple proposals for funding and/or to be more attractive to

funding from government earmarks.

24.   While Wallace Tang served as President, Cassindy Sine Chao was listed

as MicroAssembly's Chief Financial Officer and a Director. While Cassindy Sine

Chao served as Laserlith's President, Wallace Tang served as an officer and

Gina Kim served as its Corporate Secretary.         While Gina Kim served as

President and Secretary of Black Hills Nano, Wallace Tang was listed as

Director of Research and Development.

25.   Beginning at a time unknown, but no later than 2012, and continuing

through 2016, within the State of South Dakota and elsewhere, Wallace Tang,

the organizer, conspired with Cassindy Sine Chao and Gina Kim to devise a

scheme to defraud the United States and obtain money and property by means

of false claims, fraudulent pretenses, and false representations.

26.   The object of the conspiracy was to obtain federally funded SBIR and

STTR projects by and through material misrepresentations, statements, and
  Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 7 of 15 PageID #: 7



omissions, thereby depriving the United States the ability to fund other SBIR

and STTR proposed projects, and resulting in the enrichment of the

Defendants.


27.    Defendants applied for and received SBIR and STTR awards, for

essentially equivalent work, concealing the existence of the awards and the

relationships between the related individuals and companies from the NSF,

NASA and DOE, as follows:

      Awardin       Awarded                l        Nature of Project
      g Agency    Defendant &                  v   Proposal Number Sb
                     Amount           "^           Date of Submission
       DOE       Black Hills Nano   Optimal Multi-junction Solar Cells for CPV
                   $148,889.00      Under Realistic Conditions - Number 203324
                                    submitted July 3, 2012
                    Blue Sky        High Efficiency Flexible Solar Panels
                  $149,994.00       Number 1315777 submitted December 3,
                                    2012
                    Laserlith       RF Mems Relay for ATE Applications
                  $179,479.00       Number 1143347 submitted January 16, 2013
                    Laserlith       Micromachined Varactor for Antenna
                  $149,497.00       Impedance Matching Number 1217624
                                    submitted July 15, 2013
       NASA      Black Hills Nano   Low-Cost Multi-Junction Photovoltaic Cells
                  $124,942.77       Number H8.04-9546 submitted November 29,
                                    2013
        NSF      Black Hills Nano   MEMS Reconfigurable Antenna for Portable
                   $224,946.00      Wireless Devices Number 1417284 submitted
                                    December 4, 2013
                    Laserlith       Micromachined components for wireless
                  $734,890.00       applications Number 1431008 submitted
                                    January 31, 2014

28.    Defendants specifically misrepresented the existence and use of distinct

company facilities, equipment, employees, subcontractors and operations in

South Dakota and North Dakota, and elsewhere. These representations and

statements were false in that all of the companies were, at certain times, co-
  Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 8 of 15 PageID #: 8



located in a common facility in Richmond, California, sharing the same

resources and performing essentially equivalent work, or portions thereof.

29.   Between ■ 2012 and 2016, Defendants submitted, or caused the

submission of approximately forty-live (45) false claims and materially false

statements, with knowledge of their falsity, solely to obtain federal awards.

30.   Defendants' actions, false statements,, and misrepresentations included

the preparation and submission of proposals for awards under the NSF, NASA,

and DOE programs, specifically involving costs, employees, the eligibility, of

principal   investigators,   suitability   of   facilities,   location   of facilities,

subcontractors, consultants, letters of support, and certifications submitted to

NSF, NASA, and DOE.

31.   As a result of Defendants' scheme to defraud and to obtain money by

means of false representations. Defendants obtained awards from NSF, NASA,

and DOE totaling $1,710,568.60.

32.   Wallace Tang pleaded guilty to Wire Fraud, in violation of 18 U.S.C. §

1343. United States v. Wallace Tang, 18CR40100-1, District of South Dakota.

33.   Blue Sky, through Wallace Tang, its authorized principal, pleaded guilty

to Conspiracy to Commit Wire Fraud, in violation of ,18 U.S.C. § 1349. United

States V. Blue Sky Engineering Incorporated, 18CR40100-5, District of South

Dakota. The judgments (Docket 80 86 87) are attached as Exhibit 1.




                                           8
  Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 9 of 15 PageID #: 9



34.   The Factual Basis Statement (Docket 38) executed by Wallace Tang is

attached as Exhibit 2, and sets forth the materially false statements committed

in furtherance of the scheme to defraud the United States.

35.   Laserlith, through Cassindy Sine Chao, its principal, pleaded guilty to

conspiracy to commit wire fraud in violation of 18 U.S.C. § 1349. United States

V. Laserlith Corporation, 18CR40100-03, District of South Dakota. The

judgment(Docket 83) is attached as Exhibit 3.

36.   The Factual Basis Statement, (Docket 36) executed by Cassindy Sine

Chao, individually and as authorized officer for Laserlith, is attached as Exhibit

4, and sets forth the overt acts committed in furtherance of the conspiracy.

37.   Black Hills Nano, through Gina Kim, its principal, pleaded guilty to

conspiracy to commit wire fraud in violation of 18 U.S.C. § 1349. United States

V. Black Hills Nanosystems Corporation, 18CR40100-4, District of South

Dakota. The Judgment(Docket 85) is attached as Exhibit 5.

38.   The Factual Basis Statement (Docket 16), executed by Gina Kim,,

individually and as authorized officer for Black Hills Nano, is attached as

Exhibit 6, and sets forth the overt acts committed in furtherance of the

conspiracy.

39.   Based on the Factual Basis Statement filed in the criminal case,

restitution was agreed upon at $1,084,418.60, and ordered joint and several.

See Exhibits 1, 3, and 5.
 Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 10 of 15 PageID #: 10



                                     COUNT ONE


           VIOLATIONS OF THE FALSE CLAIMS ACT f31 U.S.C. S 37291

40.   The False Claims Act (FCA), 31 U.S.C. § 3729(a)(1) makes any person or

entity who knowingly (A) presents, or causes to be presented, a false claim for

payment or approval; or (B) makes or uses a false record or statement material

to a false claim; or (C) conspires to commit a violation of A or B; liable to the

United States for a civil penalty of not less than $5,500 and not more than

$11,000, plus three (3) times the amount of damages which the government
sustains because of the conduct.

41.   A conviction rendered in any criminal proceeding charging fraud or false

statement estops the defendants from denying the elements of the offense in

any'FCAsuit. 31 U.S.C. § 3731(e).

42.   Based upon conduct described herein, Wallace Tang has pleaded guilty

to wire fraud. Exhibit 1.   '


43.   Based upon conduct described herein, Blue Sky, Laserlith and Black

Hills Nano, through their respective principles, Wallace Tang, Cassindy Sine

Chao, and Gina Kim, each pleaded guilty to conspiracy to commit wire fraud.

Exhibits 1, 3, and 5.

44.   The Factual Basis Statements executed by Wallace Tang, Cassindy Sine

Chao, and Gina Kim, individually, and as authorized officers of the corporate

entities, set forth the overt acts committed by each in furtherance of the

conspiracy to defraud the United States, recite the specific false and fraudulent



                                       10
 Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 11 of 15 PageID #: 11



representations made in the SBIR and STTR proposals and subsequent

certifications, and are incorporated herewith.

45.   As set forth in Exhibits 2, 4, and 6, between 2012 and 2016, Defendants

knowingly presented or caused to be presented approximately forty-five (45)
                                                                                f



false claims and/or materially false statements, with knowledge of their falsity,

solely to obtain federal funds, by submitting SBIR and STTR proposals that

misrepresented the existence and use of distinct company facilities, equipment,

and operations in South Dakota, North Dakota, or elsewhere; and involved

costs, employees, eligibility of principal investigators, suitability of facilities,

location of facilities, subcontractors, consultants, letters of support, and false

certifications.

46.   Defendants' actions and conduct were material to the decision by NSF,

NASA, and DOE to award SBIR and STTR monies to the false and fraudulent

claims.

47.   By reasons of Defendants'violations of 31 U.S.C. § 3729(a)(1), the United

States has sustained damages in an amount to be determined.

                                  COUNT TWO


                             COMMON LAW FRAUD


48.   Between 2012 and 2016, Defendants engaged in a pattern or practice of

making misrepresentations, false statements, and false claims in order to

obtain SBIR and STTR monies from the NSF, NASA and DOE, intending the

United States to rely upon those false representations, statements and claims.



                                        11
 Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 12 of 15 PageID #: 12



49.   Defendants specifically, misrepresented the existence and use of distinct

company facilities, equipment, and operations in South Dakota, North Dakota,

or elsewhere; costs, employees, principal investigators, suitability of facilities,

location of facilities, subcontractors, consultants, letters of.support, and made

false certifications.

50.   Defendants knew or should have known that the false claims, statements

or certifications were false and fraudulent.

51.   The    United     States   relied   upon     Defendants^   materially   false

representations and, as a result, has been damaged in amounts to be

determined at trial.

      Wherefore, the United States requests that this Court enter judgment in

its favor and-against Defendants as follows:

A.    On the First Count, an amount three times the amount of damages

which the United States sustained because of Defendants' acts, together with

civil penalties, plus litigation costs and such further relief as may be just and

proper.


B.    On Count Two, for damages sustained by the United States to be

determined at trial, plus interest, punitive damages, costs and expenses, and

for such other relief as may be just and proper.

                THE UNITED STATES REQUESTS A TRIAL BY JURY




                                          12
Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 13 of 15 PageID #: 13




Dated this^day of February, 2019.
                                         RONALD A. PARSONS, JR.
                                         UNITED STATES ATTORNEY



                                         Chery/ Schrempp DuPris
                                         Assistant United States Attorney
                                         P. O. Box 7240
                                         Pierre, SD 57501
                                         (605) 224-5402
                                         Cheryl.Dupris@usdoj.gov




                                    13
 Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 14 of 15 PageID #: 14




                            CERTIFICATE OF SERVICE

      I, Cheryl Schrempp DuPris, do hereby certify that on the^^ day of
Februaiy, 2019, I caused copies of the foregoing document to be served upon
the following by US mail:


Wallace Tang                           Wallace T. Tang
Blue Sky Engineering Incorporated      3057 Lunada Lane
c/o Tom Carlucci                       Alamo, CA 94507
Attorney at Law
555 California Street                  Blue Sky Engineering Incorporated
San Francisco, CA 94104                P.O. Box 1092
Tcarlucci@folev.com                    Alamo, CA 94507

Cassindy Sine Chao                     Cassindy Sine Chao
Laserlith Corporation                  309 Mountain Ave
c/o Michael Li Ming Wong               Piedmont, CA 94611
Gibson and Dunn Law Office
555 Mission Street, Suite 3000         Laserlith Corporation
San Francisco, CA 94105-0921           P.O. Box 13211
mwona@gdbsondunn.com                   Oakland, CA 94611-2813

Gina Kim                               Gina Kim
Black Hills Nanosystems Corporation    80 Second Street, #11
c/o Randy Luskey                       Los Alto, CA 94022
Orrick, Herrington & Sutcliffe
405 Howard Street                      Black Hills Nanosystems Corporation
San Francisco, CA 94105-2669           209 Hazelwood Ave
rluskev@orrick.com                     San Francisco, CA 94127




                                                               W
                                    Cheryl'Schrempp DuPris




                                      14
                  Case 4:19-cv-04029-KES Document 1 Filed 02/08/19 Page 15 of 15 PageID #: 15
JS44 (Rev. 06/17)
                                                                CIVIL COVER SHEET
The JS 44 civi! cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules ofcourt. This form,approved by the Judicial Conterence ofthe United States in September 1974, is required for the use ofthe Cleric of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXTPAGE OF THIS FORM.)

               tes of America                                                                              Wafikce^^ng, Individually and d/b/a Blue Sky Engineering, inc.;
                                                                                                           Cassindy Sine Chao, Individually and d/b/a Laserlith Corp.; and
                                                                                                           Gina Kim, individually and d/b/a Black Hills NanoSystems, Corp.
  (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant
                                (EXCEPTIN U.S. PLAINTIFF CASES)                                                                            (INU.S PLAINTIFF CASES ONLY)
                                                                                                             NOTE;      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                        THE TRACT OF LAND INVOLVED.


   (c) Attorneys(Firm Name,Address, and Telephone Number)                                                     Attorneys (IfKnown)
Cheryl Schrempp DuPris, Assistant U.S. Attorney
PO Box 7240, Pierre. SD 57501 /(605)224-5402

II. BASIS OF JURISDICTION (Placean "X"inOneBoxOnly)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES/Waceim "X" inOneBoxforPlatntiff
                                                                                                        (For Diversity Cases Only)                                          and One Box for Defendant)
»\ U.S. Government                   □ 3      Federal Question                                                                       PTF     DEF                                              PTF       DEF
         Plaintiff                              (U.S Government Nol a Party)                       Citizen of This State             O I     O I Incorpwrated or Principal Place                0 4       O 4
                                                                                                                                                         of Business In This State

□ 2    U.S. Government               □ 4 Diversity                                                 Citizen of Another State          0 2     O     2   Incorporated antf Principal Place        0 5       0 5
         Defendant                         (Indicate Citizenship ofParties in Item III)                                                                  of Business In Another State


                                                                                                   Citizen or Subject of a           □ 3     0 3       Foreign Nation                           □ 6       0 6
                                                                                                     Foreign Counlrv
IV. NATURE OF SUIT (Place an "X" in One Box Only                                                                                              Click here for: 2jMyi^-g£^MiL£ode^esgTBtigns^
                                                                                                                                                                                 QTHRRSTATimSS
O 110 Insurance                         PERSONAL INJURY                PERSONAL INJURY             □ 625 Drug Related Seizure          □ 422 Appeal 28 use 158                375 False Claims Act
O 120 Marine                        O 310 Airplane                 □ 365 Personal Injury -                 ofProperty2! use 881        O 423 Withdrawal                    □ 376QuiTam(31 USC
□ 130 Miller Act                    O 315 Airplane Product               Product Liability         □ 690 Odier                                   28 use 157                     3729(a))
□ 140 Negotiable Instrument                 Liability              □ 367 Health Care/                                                                                      □ 400 State Reapportiorunent
O 150 Recovery ofOverpayment O 320 Assault, Libel &                       Pharmaceutical                                                                                   O 410 Antitrust
      & Enforcement of Judgment    Slander                                Persona] Injury                                              □ 820 Copyrights                    □ 430 Banks and Banking
O 151 Medicare Act                 □ 330 Federal Employers'               Product Liability                                            O 830 Patent                        □ 450 Commerce
O 152 Recovery of Defimlted                 Liability              □ 368 Asbestos Personal                                             O 835 Patent - Abbreviated          □ 460 Deportation
       Student Loans               □ 340 Marine                           Injury Product                                                       New Drug Application        □ 470 Racketeer Influenced smd
       (Excludes Veterans)          O 345 Marine ft-oduct                 Liability                                                    O 840 Trademark                               Corrupt Organizations
O 153 Recovery ofOverpayment                Liability                PERSONAL PROPERTY                                                                                     O 480 Consumer Credit
      ofVeteran's Benefits         □ 350 Motor Vehicle             O 370 Other Fraud               □ 710 hair Labor Standards          □ 861 HIA(1395ff)                   □ 490 Cable/Sat TV
O 160 Stockholders'Suits           □ 355 Motor Vehicle             □ 371 Trud) in Lending                  Act                         □ 862 Black Lung (923)              □ 850 Securities/Coinmodities/
O 190 Other Contract                       Product Liability       □ 380 Other Personal            □ 720 Labor/Management              □ 863 DIWC/DIWW (405(g))                      Exchange
□ 195 Contraa Product Liability    □ 360 Other Personal                   Property Damage                 Relations                    a 864 SSID Title XVI                □ 890 Other Statutory Actions
□ 196 Franchise                          Injury                    □ 385 Property Damage           □ 740 Railway Labor Act             □ 865 RSI (405(g))                  □ 891 Agricultural Acts
                                   □ 362 Personal Injury -               lYodua Liability          □ 751 Family and Medical                                                □ 893 Environmental Matters
                                           Medical Malpractice                                            Leave Act                                                        □ 895 Freedom of Informatton
                                                                                                   O 790 Other Labor Litigation                                                      Act
□ 210 Land Condemnation            □ 440 Other Civil Rights           Habeas Corpus:               O 791 Employee Retirement           □ 870 Taxes (U.S. Plaimiff          □ 896 Arbitration
o 220 Foreclosure                   O   441 Voting                 □ 463 Alien Detainee                   Income Security Act                or Defendant)                 □ 899 Administrative Procedure
a 230 Rent Lease & Ejectment       □    442 Employment             □ 510 Motions to Vacate                                             □ 871 IRS—Third Party                         Act/Review or Appeal of
a 240 Torts to Land                □    443 Housing'                     Sentence                                                                26 use 7609                         Agency Decision
a 245 Tort Product Liability               Accommodations          □ 530 General                                                                                           □ 950 Constitutionality of
a 290 All Other Real Property      □ 445 Amer. w/Disabilities - O     535 Death Petialty                                                                                          State Statutes
                                           Employment                 Other:                       □ 462 Natitfalization Application
                                   □ 446 Amer w/Disabilifies- 0 540 Mandamus & Other               □ 465 Other Irmmgration
                                           Other                   a 550 Civil Rights                     Actions
                                   □ 448 Education                 0 555 Prison Condition
                                                                   o 560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement

V. ORIGIN (Place an "X" In One Box Only)
X 1 Original             □ 2 Removed from                □     3   Remanded from              □ 4 Reinstated or              5 Transferred from        □ 6 Multidistrict               □ 8 Multidistrict
       Proceeding               State Court                        Appellate Court                 Reopened            Another District                 Litigation -                         l.itigation -
                                                                                                                       (specify)                        Transfer                            Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity).
                                         31 USC 3729. et sea.
VI. CAUSE OF ACTION
                                         Brief description of cause:
                                          False Claims Act & fraudulent conduct in submitting multiple proposals for government grants.
VII. REQUESTED IN                        O CHECK IF THIS IS A CLASS ACTION                            DEMAND S                                     CHECK YES only if demanded in complaint:
       COMPLAINT:                             UNDER RULE 23, F.RCv.P.                                                                              JURY DEMAND:                 K Yes           ONo
VIII. RELATED CASE(S)
                                            (See instructions):
        IF ANY                                                     JUDGE                                                                   DOCKET NUMBER
DATE                                                                  SIGHflTJURE OF ATTORJJEY 0F RECORD
        2. P-il
FOR OFFICE USE ONLY

  RECEIPT#                      AMOUNT                                    APPLYING IFP                                       JUDGE                            MAG. JUDGE
